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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION
CASE NO. 03-61089-CIV-DIMITROULEAS/TORRES
THOMAS R. FARESE,
Plaintiff,
Vv.
FLORIDA VENTURES, INC.,
et al., a
Defendants. - =
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ORDER FOR RESPONSE AND REPLY nt
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This matter is before the Court on Plaintiff’s Motion to Excuse Late Response to as 2

Defendants’ Motion for Protective Order Re: Plaintiff's First Set of Interrogatories

(D.E. # 188). After reviewing the motion and file in this case, it is ORDERED as follows:
1. Defendants shall have until Wednesday, January 28, 2004 to file a Response to
Plaintiff’s Motion to Excuse Late Response to Defendants’ Motion for Protective Order Re:
Plaintiff’s First Set of Interrogatories and a Reply to Plaintiff's Response in Opposition to
Defendants’ Motion for Protective Order Re: Plaintiff's First Set of Interrogatories.
2. A copy of the Response and Reply shall be delivered directly to the chambers

of Magistrate Judge Torres within the time provided in this Order.

DATED at Fort Lauderdale, Florida this day of January, 2004.

      
    

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EDWINAS. TORRES
UnitedAtates Magistrate Judge

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cc: Honorable William P. Dimitrouleas

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# 01946-004

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